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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

JILL BABCOCK, et al.,

                                                           Civil Case No. 22-cv-12951
       Plaintiffs,

vs.                                                        HON. MARK A. GOLDSMITH

MICHIGAN, STATE OF,

      Defendants.
__________________________/

                    ORDER DENYING WITHOUT PREJUDICE
               DEFENDANT’S MOTION TO DISMISS AS MOOT (Dkt. 29)

       Defendant State of Michigan filed a motion to dismiss (Dkt. 29). The Court advised that,

if Plaintiffs filed an amended complaint, the Court would deny it without prejudice as moot (Dkt.

31). Plaintiffs have filed an amended complaint (Dkt. 41). Accordingly, the Court denies without

prejudice State of Michigan’s motion to dismiss as moot.

       SO ORDERED.


Dated: May 2, 2023                          s/Mark A. Goldsmith
Detroit, Michigan                           MARK A. GOLDSMITH
                                            United States District Judge




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